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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

JONATHAN DIAMOND                             )
                                             )
       Plaintiff,                            )
                      v.                     )
                                             )
MEDICREDIT, INC. and WEST                    )    Case No. _____________________
FLORIDA-PPH LLC d/b/a PALMS OF               )
PASADENA HOSPITAL,                           )
                                             )
       Defendants.                           )
                                             )

                                  NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1331, 1441 and 1446, Defendants Medicredit, Inc.

(“Medicredit”) and West Florida-PPH LLC d/b/a Palms of Pasadena Hospital (“West Florida”)

(collectively referred herein as “Defendants”), by and through counsel, file this Notice of

Removal. In support thereof, Defendants state as follows:

       1.      On or about October 5, 2016, Plaintiff Jonathan Diamond (“Plaintiff”) initiated

his civil action by filing a Statement of a Claim (the “Original Complaint”) in the County Court

of the Sixth Judicial Circuit in and for Pinellas County, Florida, Small Claims Division,

captioned Jonathan Diamond v. Medicredit, Inc. and PP Transition LP d/b/a Palms of Pasadena

LP, Case No. 16009886SC (the “State Court Action”).

       2.      On October 14, 2016, Medicredit was served with Plaintiff’s Original Complaint.

Copies of Plaintiff’s Original Complaint, the summons and other related court documents are

attached hereto as Exhibit A, which represent all of the pleadings received by or served upon

Medicredit in connection with the State Court Action.
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       3.      On or about October 27, 2016, Plaintiff amended his State Court Action by filing

a Second Amended Statement of a Claim (the “Amended Complaint”).                  The Amended

Complaint continues to assert a cause of action against Medicredit, but Plaintiff amended the

Original Complaint to assert a cause of action against West Florida rather than PP Transition LP

d/b/a Palms of Pasadena LP.

       4.      On October 31, 2016, West Florida was served with Plaintiff’s Amended

Complaint. Copies of Plaintiff’s Amended Complaint, the summons and other related court

documents are attached hereto as Exhibit B, which represent all of the pleadings received by or

served upon West Florida in connection with the State Court Action.

       5.      Plaintiff’s Amended Complaint alleges that Defendants violated the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”) and the Florida Consumer

Collection Practices Act, Fla. Stat. § 559.72 et seq. (“FCCPA”).

       6.      This Court has original jurisdiction pursuant to 28 U.S.C. § 1331 because

Plaintiff’s Amended Complaint involves a federal question.         Specifically, Plaintiff alleges

violations and seeks damages under FDCPA, which is a federal law of the United States. 15

U.S.C § 1692k(d) of the FDCPA states that “[a]n action to enforce any liability created by this

subchapter may be brought in any appropriate United States district court without regard to the

amount in controversy…within one year from the date on which the violation occurs.”

Defendants will rely on 15 U.S.C. § 1692k(a)(3) of the FDCPA because Plaintiff files suit

against Defendants in bad faith and for purposes of harassment.

       7.      This Court has supplemental jurisdiction over Plaintiff’s FCCPA claims, pursuant

to 28 U.S.C. § 1367. Therefore, removal is proper pursuant to 28 U.S.C. § 1441(c).




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       8.      This Notice of Removal is timely because it is being filed within 30 days of

service of Plaintiff’s Original Complaint and Amended Complaint. See 28 U.S.C. § 1446(b).

       9.      Pursuant to 28 U.S.C. § 1446(d), Defendants will promptly notify Plaintiff’s

counsel in writing of the filing of this Notice, and Defendants will file a copy of this Notice with

the Clerk of the Circuit Court of Pinellas County, Florida.

       10.     Defendants consent to removal.

       WHEREFORE, Defendants Medicredit, Inc. and West Florida-PPH LLC d/b/a Palms of

Pasadena Hospital give notice that the State Court Action has been removed to this Court in

accordance with the foregoing statutory provisions.



Dated: November 8, 2016                    Respectfully submitted,

                                           /s/ William J. Cantrell
                                           William J. Cantrell, Esquire
                                           Florida Bar No. 0103254
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                                                & STEWART, P.C.
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                                           Attorney for Defendants




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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 8th day of November, 2016, I electronically filed the

foregoing through the Court’s CM/ECF system, and mailed, postage prepaid, to the following

attorney of record:


Michael A. Ziegler, Esq.
Law Office of Michael A. Ziegler, P.L.
13575 58th Street North, Suite 129
Clearwater, FL 33760

ATTORNEY FOR PLAINTIFF

                                                /s/ William J. Cantrell
                                                An Attorney for Defendants


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